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          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT
                           _______________________
                                                                  United States Court of Appeals
                                                                           Fifth Circuit
                                No. 16-41569                             FILED
                              Summary Calendar                    September 6, 2018
                           _______________________
                         D.C. Docket No. 5:16-CV-129                Lyle W. Cayce
                                                                         Clerk
ALESSANDRO F. CERVANTES,

            Plaintiff - Appellant
v.

OCWEN LOAN SERVICING, L.L.C.; HOMEEQ SERVICING
CORPORATION; NEW CENTURY FINANCIAL CORPORATION; U.S.
BANK, N.A.; ELDON L. YOUNGBLOOD,

            Defendants - Appellees

             Appeal from the United States District Court for the
                         Southern District of Texas

Before DAVIS, HAYNES, and GRAVES, Circuit Judges.

                               JUDGMENT

      This cause was considered on the record on appeal and the briefs on file.

      It is ordered and adjudged that the appeal is dismissed as frivolous.

      IT IS FURTHER ORDERED that plaintiff-appellant pay to defendants-
appellees the costs on appeal to be taxed by the Clerk of this Court.




                                           Certified as a true copy and issued
                                           as the mandate on Sep 28, 2018
                                           Attest:
                                           Clerk, U.S. Court of Appeals, Fifth Circuit
